

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-16,556-06






EX PARTE KENNETH DEWAYNE THOMAS, Applicant








ON APPLICATION FOR A WRIT OF MANDAMUS


FROM DALLAS COUNTY






	Johnson, J., filed a statement concurring in the denial of leave to file.



C O N C U R R I N G    S T A T E M E N T




	Rule 72.1 of the Texas Rules of Appellate Procedure dictates that original applications for
writs of several kinds, including a writ of mandamus, must be accompanied by a motion for leave
to file.  Applicant has failed to file such a motion with his application and, therefore, today this Court
denies leave to file his application for a writ of mandamus because of that failure.  Our denial of 
leave to file is required by our rules and is in no way a comment on the merits of his application.


Filed:  February 9, 2011

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